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                                                     36
                                                                                                              5HY

                             81,7('67$7(6%$1.5837&<&2857
                            ($67(51',675,&72)1257+&$52/,1$
                                 GREENVILLE ',9,6,21
       ,15(                                                           &+$37(5
        CAH Aquisiton Company #1, LLC                               &$6(12 19-00730-5-JNC
        d/b/a Washington County Hospital
                '(%725                                                  &KHFNLIWKLVLVDQDPHQGHGILOLQJ

                 0217+/<5(32572)&25325$7('(%725,1
                          3266(66,2175867((

       '$7(3(7,7,21:$6),/('                February 19, 2019

       5(3257,1*3(5,2'&29(5(' February                           1 - 29, 2020

       ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKHLQIRUPDWLRQFRQWDLQHGLQWKLVUHSRUWLVWUXHDQGFRUUHFW
       WRWKHEHVWRIP\NQRZOHGJHDQGEHOLHI

       '(%725         

       2IILFHU1DPH 7LWOH Thomas W. Waldrep, Jr., Trustee

              3/31/2020
       'DWH

       6LJQDWXUHV7KRPDV::DOGUHS-U7UXVWHH



       ,KDYHUHDGWKHLQIRUPDWLRQLQWKLVUHSRUWDQGWKHLQIRUPDWLRQFRQWDLQHGKHUHLQLVWUXHDQGFRUUHFW
       WRWKHEHVWRIP\NQRZOHGJHDQGEHOLHI

       $77251(<)257+('(%725
       ATTORNEY FOR THE DEBTOR:


       3ULQWHG1DPH Jason L. Hendren                           'DWH 3/31/2020


       6LJQDWXUHV-DVRQ/+HQGUHQ




3HQDOW\IRUPDNLQJDIDOVHVWDWHPHQWRUILOLQJDIDOVHUHSRUW)LQHRIXSWRRULPSULVRQPHQWIRUXSWR\HDUV
                                           RUERWK86&DQG
       Case 19-00730-5-JNC       Doc 736 Filed 03/31/20 Entered 03/31/20 14:05:30          Page 2 of
                                                  36
                         3$57$%86,1(6623(5$7,216

 ,    6XPPDU\RI%XVLQHVV2SHUDWLRQV

         3OHDVHVXPPDUL]HWKH'HEWRU¶VEXVLQHVVDFWLYLWLHVIRUWKHPRQWK

On February 7, 2020, the Court entered an order approving the sale of the hospital. The Trustee is
hopeful that the transaction will close within the next 30 days.




         'LGWKH'HEWRURSHUDWHZLWKDFDVKVXUSOXVRUFDVKORVVIRUWKHPRQWK",IWKH'HEWRURSHUDWHG
        DWDORVVSOHDVHH[SODLQZKDWDIIHFWHGSURILWDELOLW\

The Debtor operated with a cash surplus for the month.




         'LGWKH'HEWRUKDYHDQ\VLJQLILFDQWUHFHLSWVRUGLVEXUVHPHQWVWKLVPRQWKWKDWZHUHXQXVXDORU
        GRQRWUHRFFXUHYHU\PRQWK")RUH[DPSOHUHFHLSWVZRXOGLQFOXGHLQVXUDQFHFODLPSURFHHGVWD[
        UHIXQGVDQGIXQGVIURPVDOHSURFHHGV'LVEXUVHPHQWVZRXOGLQFOXGHDQQXDORUTXDUWHUO\
        LQVXUDQFHSUHPLXPVWD[SD\PHQWVODUJHUHSDLUVHWF

               D 5(&(,376±

None



               E ',6%856(0(176±

None
       Case 19-00730-5-JNC     Doc 736 Filed 03/31/20 Entered 03/31/20 14:05:30          Page 3 of
                                                36
 ,,   6XPPDU\RI&KDSWHU$FWLYLWLHV

        :HUHDQ\WUDQVDFWLRQVWKLVPRQWKRXWVLGHRIWKHRUGLQDU\FRXUVHRIEXVLQHVV")RUH[DPSOH
       GLGWKH'HEWRUVHOODQ\SURSHUW\UHFHLYHDORDQIURPDWKLUGSDUW\RUPDNHDQ\ODUJHSXUFKDVHV"
       ,I\HVSOHDVHGHVFULEH

None




        :KDWVWHSVKDVWKH'HEWRUWDNHQWRZDUGUHRUJDQL]DWLRQRUOLTXLGDWLRQ"

Trustee has filed a plan and disclosure statement and the confirmation hearing is set for May 13,
2020.
Case 19-00730-5-JNC           Doc 736 Filed 03/31/20 Entered 03/31/20 14:05:30               Page 4 of
                                               36

                           3$57%&(57,),&$7,216

    ,VWKH'HEWRUFXUUHQWRQDOOSRVWSHWLWLRQWD[REOLJDWLRQV"<HV1R
                                                                               ✔

      ,IWKH'HEWRUFKHFNHGQRSOHDVHFRPSOHWHWKHFKDUWEHORZ

                                                                      $PRXQW2I7D[HV
                      1DPHRI7D[LQJ$XWKRULW\
                                                                          2ZHG
                                   IRS                                  $ 169,822.07
                        NC Dept of Revenue                               $ 27,265.00
                                  SUTA                                   $ 4,078.72
                                  FUTA                                   $ 1,350.61



     +DVWKH'HEWRUILOHGDOOQHFHVVDU\WD[IRUPV HJDQG FRPLQJGXHVLQFH
        WKHSHWLWLRQGDWH"<HV1R
                             ✔


       ,IWKH'HEWRUFKHFNHGQRSOHDVHSURYLGHLQIRUPDWLRQUHJDUGLQJWKHWD[IRUPVWKDWDUH
        FXUUHQWO\XQILOHG




     ,VWKH'HEWRUFXUUHQWRQDOOSRVWSHWLWLRQDGPLQLVWUDWLYHH[SHQVHV H[FOXGLQJWD[
        REOLJDWLRQV "<HV1R
                                   ✔


        ,IWKH'HEWRUFKHFNHGQRSOHDVHFRPSOHWHWKHFKDUWEHORZ

                 1DPHRI$GPLQLVWUDWLYH&UHGLWRU                       $PRXQW2ZHG
                             Waldrep LLP                                 $ 99,892.19
             Hendren, Redwine & Malone, PLLC                             $ 40,520.90
                           Grant Thornton                               $ 196,075.30
                                Spilman                                  $ 9,579.41
                            Parker Hudson                                $ 1,441.00
                             Nexsen Pruet                                $ 1,159.00
Case 19-00730-5-JNC          Doc 736 Filed 03/31/20 Entered 03/31/20 14:05:30                    Page 5 of
                                              36

     $UHWKH'HEWRU¶VLQVXUDQFHSROLFLHVLQIXOOIRUFHDQGHIIHFW"<HV1R
                                                                        ✔

        ,IWKH'HEWRUFKHFNHGQRSOHDVHGHWDLOZKLFKSURSHUW\RZQHGE\WKH'HEWRULVQRW
        LQVXUHG




     +DVWKH'HEWRUFORVHGDOOSUHSHWLWLRQEDQNDFFRXQWV"<HV1R
                                                                           ✔

        ,IWKH'HEWRUFKHFNHGQRSOHDVHOLVWWKHSUHSHWLWLRQEDQNDFFRXQWVWKDWDUHVWLOORSHQDQG
        ZKHWKHUWKH'HEWRUVRXJKW&RXUWDSSURYDOWRNHHSWKHDFFRXQWVRSHQ

                                                              /DVW'LJLWV     &RXUW$SSURYDO
                  1DPHRI%DQNLQJ,QVWLWXWLRQ
                                                               RI$FFRXQW            <1 
                           U.S. Bank                              3804                   N
                         Southern Bank                            0487                   N
                         Southern Bank                            0495                   N




     'LGWKH'HEWRUSD\DQ\SUHSHWLWLRQXQVHFXUHGGHEWVWKLVUHSRUWLQJSHULRG"           <HV1R
                                                                                                       ✔

         ,IWKH'HEWRUFKHFNHG\HVSOHDVHFRPSOHWHWKHFKDUWEHORZ

                     1DPHRI8QVHFXUHG&UHGLWRU                            $PRXQW3DLG
Case 19-00730-5-JNC          Doc 736 Filed 03/31/20 Entered 03/31/20 14:05:30                    Page 6 of
                                              36


     'LGWKH'HEWRUGHSRVLWDOOVRXUFHVRILQFRPHLQWRLWV',3EDQNDFFRXQWVWKLVUHSRUWLQJ
        SHULRG"<HV1R
                              ✔


        ,IWKH'HEWRUFKHFNHGQRSOHDVHGHWDLOZKHUHWKHHVWDWHIXQGVZHUHGHSRVLWHGRU LIQRW
        GHSRVLWHG KRZWKHIXQGVZHUHGLVEXUVHG
         The Debtor's income was deposited into Southern Bank #0487 and US Bank #3804.




     'LGWKH'HEWRUSD\DQ\SURIHVVLRQDOV HJDWWRUQH\RUDFFRXQWDQW ZLWKRXWSULRU&RXUW
       DSSURYDOWKLVUHSRUWLQJSHULRG"<HV1R
                                                      ✔


       ,IWKH'HEWRUFKHFNHG\HVSOHDVHFRPSOHWHWKHFKDUWEHORZ

                             1DPHRI3URIHVVLRQDO                            $PRXQW3DLG




     'LGWKH'HEWRUVHOORUWUDQVIHUDQ\SURSHUW\RXWVLGHRIWKHRUGLQDU\FRXUVHRIEXVLQHVV
       ZLWKRXWSULRU&RXUWDSSURYDOGXULQJWKLVUHSRUWLQJSHULRG"<HV1R
                                                                                  ✔


       ,IWKH'HEWRUFKHFNHG\HVSOHDVHSURYLGHDGGLWLRQDOLQIRUPDWLRQUHJDUGLQJWKHSURSHUW\
       WKDWZDVVROGRUWUDQVIHUUHG
Case 19-00730-5-JNC         Doc 736 Filed 03/31/20 Entered 03/31/20 14:05:30                 Page 7 of
                                             36


    'LGDQ\SHUVRQRUHQWLW\SD\DQ\H[SHQVHVRUFRVWVRQEHKDOIRIWKH'HEWRUGXULQJWKLV
       UHSRUWLQJSHULRG"<HV1R
                           ✔


        ,I WKH 'HEWRU FKHFNHG \HV SOHDVH OLVW DOO H[SHQVHV SDLG RQ EHKDOI RI WKH 'HEWRU
        LQFOXGLQJWKHQDPHRIWKHSHUVRQRUHQWLW\ZKRPDGHWKHSD\PHQWV
        The Trustee employed Affinity Health Partners as Washington County Hospital's
        management company. Affinity's transactions in its Washington County accounts are
        included in this report.




    'LGWKH'HEWRUWUDQVIHUDQ\SURSHUW\WRRUIRUWKHEHQHILWRIDQRIILFHURULQVLGHURIWKH
       'HEWRURUDUHODWLYHRIDQRIILFHURULQVLGHURIWKH'HEWRUGXULQJWKHUHSRUWLQJSHULRG
        DWUDQVIHULQFOXGHVEXWLVQRWOLPLWHGWRWKHSD\PHQWRISHUVRQDOH[SHQVHVSURYLVLRQRI
       QRQFRXUW DSSURYHG IULQJH EHQHILWV SXUFKDVH RI LWHPV IRU D SHUVRQDO QRQEXVLQHVV
       SXUSRVH "<HV1R
                               ✔


       ,IWKH'HEWRUFKHFNHG\HVSOHDVHOLVWDOOH[SHQVHVRUFRVWVWKH'HEWRUSDLGRQEHKDOIRI
       DQ\RIILFHURULQVLGHURIWKH'HEWRURURQEHKDOIRIDUHODWLYHRIDQRIILFHURULQVLGHURI
       WKH'HEWRU
Case 19-00730-5-JNC       Doc 736 Filed 03/31/20 Entered 03/31/20 14:05:30                    Page 8 of
                                           36

                 3$57&6800$5<2)&$6+5(&(,376
                    $1'',6%856(0(176


 1$785(7<3(2)$&&2817                 2SHUDWLQJ$FFRXQW /DVW'LJLWV            
                                          7D[$FFRXQW /DVW'LJLWV 
                                         3D\UROO$FFRXQW /DVW'LJLWV 
                                      ✔ Trustee's Account                 /DVW'LJLWV 4572  

                                                                   $02817


    &$6+%$/$1&()52035(9,286                                    112,116.56
      0217+ 65(3257

    727$/5(&(,37675$16)(5681&/($5('                            589,586.37
      >2QIROORZLQJSDJH(;+,%,7
      SURYLGHDGHVFULSWLRQRIWKHVRXUFHDQGDPRXQW@



    727$/',6%856(0(17675$16)(5681&/($5(' 621,844.34
      >2QIROORZLQJSDJH(;+,%,7
      SURYLGHDGHVFULSWLRQRIWKHGLVEXUVHPHQWV@


    (1',1*5(&21&,/('%$/$1&(                                      79,858.59



                  6800$5<2)%$1.$&&2817,1)250$7,21


    (1',1*%$1.%$/$1&(                                          79,858.59

    3/8681&/($5(''(326,76                                       0.00

    /(6681&/($5('&+(&.6                                         0.00

    (1',1*5(&21&,/('%$/$1&(                                    79,858.59



       ,ILWHPGLIIHUVIURP,WHPSOHDVHH[SODLQ
Case 19-00730-5-JNC        Doc 736 Filed 03/31/20 Entered 03/31/20 14:05:30              Page 9 of
                                            36


                                      (;+,%,7

                                                                        4572 
     '(6&5,37,21,7(0,=$7,212)5(&(,376 /DVW'LJLWVRI$FFW


 5(&(,376                                              $02817



 6DOHV                                                  

 5HQWDO,QFRPH                                          

 &ROOHFWLRQRISRVWSHWLWLRQDFFRXQWVUHFHLYDEOH         
 &ROOHFWLRQRISUHSHWLWLRQDFFRXQWVUHFHLYDEOH          


 7UDQVIHUVIURPRWKHUDFFWV OLVWODVWGLJLWVRIDFFW  OLVWDPRXQWVEHORZ 

         D                                             D
          E                                             E
          F                                              F

                                                                        7RWDO 0.00
 7UDQVIHUVIURPRWKHUDFFRXQWV OLVWODVW
                                                         OLVWDPRXQWVEHORZ 
 GLJLWVRIDFFRXQWQXPEHUVEHORZ 
         D 3804                                        D  $ 589,586.37
          E                                             E
          F                                              F 

                                                                                  589,586.37
                                                                        7RWDO 

 2WKHUIRUPVRILQFRPHGHSRVLWV OLVWVRXUFHV           OLVWDPRXQWVEHORZ 
 EHORZ 
                                                         D
         D                                             E
          E                                             F
          F
                                                                        7RWDO 0.00
 /HVVDOORZDQFHIRUUHWXUQVDQGGLVFRXQWV               



                                 Î  727$/ 589,586.37

                    7RWDOHTXDOVLWHP 7RWDO&DVK5HFHLSWV RQ3DUW&
Case 19-00730-5-JNC       Doc 736 Filed 03/31/20 Entered 03/31/20 14:05:30 Page 10 of
                                           36                Click to add another account
                                      (;+,%,7
                                                                        4572 
      '(6&5,37,21,7(0,=$7,212)',6%856(0(176 /DVW'LJLWVRI$FFW

  ',6%856(0(176                                      $02817

  3D\PHQWVWR6HFXUHG&UHGLWRUV                       
  3XUFKDVHVRI,QYHQWRU\                              
  1HW3D\UROO H[FOXGLQJRIILFHUFRPSHQVDWLRQ         
  2IILFHU&RPSHQVDWLRQ                                
  6XEFRQWUDFWRUVDQG&RQWUDFW:RUNHUV                  
  3D\UROO7D[HV                                       
  6DOHV7D[                                           
  3URSHUW\7D[HV                                      
  6XSSOLHVDQG0DWHULDOV                              
  5HDO3URSHUW\/HDVH3D\PHQWV                       
  9HKLFOH (TXLSPHQW/HDVH3D\PHQWV                 
  8WLOLWLHV 7HOHSKRQH(OHFWULFLW\:DWHU2WKHU     
  7UDYHODQG(QWHUWDLQPHQW                            
  0HDODQG)RRG&RVWV                                 
  7UDQVSRUWDWLRQ&RVWV HJIXHOWROOVSDUNLQJ    
  9HKLFOH0DLQWHQDQFHDQG5HSDLUV&RVWV               
  (TXLSPHQW5HSDLU&RVWV                              
  5HDO3URSHUW\5HSDLUVDQG0DLQWHQDQFH&RVWV        
  9HKLFOH,QVXUDQFH3UHPLXPV                          
  /LIHDQG+HDOWK,QVXUDQFH3UHPLXPV                  
  5HDO3URSHUW\,QVXUDQFH3UHPLXPV                    
  2WKHU,QVXUDQFH3UHPLXPV                            
  2IILFH6XSSOLHV                                     
  )UHLJKWDQG6KLSSLQJ&RVWV                          
  $GYHUWLVLQJDQG0DUNHWLQJ                           
  3URIHVVLRQDO)HHV HJ$WWRUQH\$FFRXQWDQW       
  4XDUWHUO\)HHV                                      17,330.88
  7UDQVIHUVWRRWKHUDFFRXQWV OLVWODVW             OLVWDPRXQWVEHORZ 
  GLJLWVRIDFFRXQWQXPEHUVEHORZ 
                                                                D  $ 204,493.55
              5931
           D 
                                                                E  $ 400,004.91
          E 5944
                                                                 F 
           F
                                                                                604,498.46
                                                                      7RWDO 
  2WKHU 3529,'($77$&+0(17                           15.00


                                Î 727$/  621,844.34

                 7RWDOHTXDOVLWHP 7RWDO&DVK'LVEXUVHPHQWV RQ3DUW&
Case 19-00730-5-JNC        Doc 736 Filed 03/31/20 Entered 03/31/20 14:05:30                    Page 11 of
                                            36

                         6800$5<2)&$6+5(&(,376
                         $1'',6%856(0(176


  1$785(7<3(2)$&&2817                 2SHUDWLQJ$FFRXQW /DVW'LJLWV            
                                           7D[$FFRXQW /DVW'LJLWV 
                                          3D\UROO$FFRXQW /DVW'LJLWV 
                                       ✔ Southern Bank Account             /DVW'LJLWV 0487  

                                                                    $02817


     &$6+%$/$1&()52035(9,286                                    5,437.46
       0217+ 65(3257

     727$/5(&(,37675$16)(5681&/($5('                            35,400.64
       >2QIROORZLQJSDJH(;+,%,7
       SURYLGHDGHVFULSWLRQRIWKHVRXUFHDQGDPRXQW@



     727$/',6%856(0(17675$16)(5681&/($5(' 171.51
       >2QIROORZLQJSDJH(;+,%,7
       SURYLGHDGHVFULSWLRQRIWKHGLVEXUVHPHQWV@


     (1',1*5(&21&,/('%$/$1&(                                    40,666.59



                   6800$5<2)%$1.$&&2817,1)250$7,21


     (1',1*%$1.%$/$1&(                                          40,666.59

     3/8681&/($5(''(326,76                                       0.00

     /(6681&/($5('&+(&.6                                         0.00

     (1',1*5(&21&,/('%$/$1&(                             40,666.59



        ,ILWHPGLIIHUVIURP,WHPSOHDVHH[SODLQ
Case 19-00730-5-JNC        Doc 736 Filed 03/31/20 Entered 03/31/20 14:05:30            Page 12 of
                                            36


                                       (;+,%,7

                                                                         0487 
      '(6&5,37,21,7(0,=$7,212)5(&(,376 /DVW'LJLWVRI$FFW


  5(&(,376                                          $02817



  6DOHV                                              

  5HQWDO,QFRPH                                      

  &ROOHFWLRQRISRVWSHWLWLRQDFFRXQWVUHFHLYDEOH     35,400.42
  &ROOHFWLRQRISUHSHWLWLRQDFFRXQWVUHFHLYDEOH      


  %RUURZLQJE\'HEWRU OLVWVRXUFHVEHORZ            OLVWDPRXQWVEHORZ 

          D                                          D
           E                                          E
           F                                           F

                                                                      7RWDO 0.00
  7UDQVIHUVIURPRWKHUDFFRXQWV OLVWODVW
                                                       OLVWDPRXQWVEHORZ 
  GLJLWVRIDFFRXQWQXPEHUVEHORZ 
          D                                          D
           E                                          E
           F                                           F 

                                                                                0.00
                                                                      7RWDO 

  2WKHUIRUPVRILQFRPHGHSRVLWV OLVWVRXUFHV        OLVWDPRXQWVEHORZ 
  EHORZ 
                                                       D  $ 0.22
          D Interest                                 E
           E                                          F
           F
                                                                      7RWDO 0.22
  /HVVDOORZDQFHIRUUHWXUQVDQGGLVFRXQWV           



                                  Î  727$/ 35,400.64

                     7RWDOHTXDOVLWHP 7RWDO&DVK5HFHLSWV RQ3DUW&
Case 19-00730-5-JNC        Doc 736 Filed 03/31/20 Entered 03/31/20 14:05:30 Page 13 of
                                            36                Click to add another account
                                       (;+,%,7
                                                                        0487 
      '(6&5,37,21,7(0,=$7,212)',6%856(0(176 /DVW'LJLWVRI$FFW

  ',6%856(0(176                                      $02817

  3D\PHQWVWR6HFXUHG&UHGLWRUV                       
  3XUFKDVHVRI,QYHQWRU\                              
  1HW3D\UROO H[FOXGLQJRIILFHUFRPSHQVDWLRQ         
  2IILFHU&RPSHQVDWLRQ                                
  6XEFRQWUDFWRUVDQG&RQWUDFW:RUNHUV                  
  3D\UROO7D[HV                                       
  6DOHV7D[                                           
  3URSHUW\7D[HV                                      
  6XSSOLHVDQG0DWHULDOV                              
  5HDO3URSHUW\/HDVH3D\PHQWV                       
  9HKLFOH (TXLSPHQW/HDVH3D\PHQWV                 
  8WLOLWLHV 7HOHSKRQH(OHFWULFLW\:DWHU2WKHU     
  7UDYHODQG(QWHUWDLQPHQW                            
  0HDODQG)RRG&RVWV                                 
  7UDQVSRUWDWLRQ&RVWV HJIXHOWROOVSDUNLQJ    
  9HKLFOH0DLQWHQDQFHDQG5HSDLUV&RVWV               
  (TXLSPHQW5HSDLU&RVWV                              
  5HDO3URSHUW\5HSDLUVDQG0DLQWHQDQFH&RVWV        
  9HKLFOH,QVXUDQFH3UHPLXPV                          
  /LIHDQG+HDOWK,QVXUDQFH3UHPLXPV                  
  5HDO3URSHUW\,QVXUDQFH3UHPLXPV                    
  2WKHU,QVXUDQFH3UHPLXPV                            
  2IILFH6XSSOLHV                                     
  )UHLJKWDQG6KLSSLQJ&RVWV                          
  $GYHUWLVLQJDQG0DUNHWLQJ                           
  3URIHVVLRQDO)HHV HJ$WWRUQH\$FFRXQWDQW       
  4XDUWHUO\)HHV                                      
  7UDQVIHUVWRRWKHUDFFRXQWV OLVWODVW             OLVWDPRXQWVEHORZ 
  GLJLWVRIDFFRXQWQXPEHUVEHORZ 
                                                             D
           D 
                                                             E
          E
                                                              F 
           F
                                                                                0.00
                                                                      7RWDO 
  2WKHU 3529,'($77$&+0(17                           171.51


                                  Î 727$/  171.51

                   7RWDOHTXDOVLWHP 7RWDO&DVK'LVEXUVHPHQWV RQ3DUW&
Case 19-00730-5-JNC        Doc 736 Filed 03/31/20 Entered 03/31/20 14:05:30                    Page 14 of
                                            36

                         6800$5<2)&$6+5(&(,376
                         $1'',6%856(0(176


  1$785(7<3(2)$&&2817                 2SHUDWLQJ$FFRXQW /DVW'LJLWV            
                                           7D[$FFRXQW /DVW'LJLWV 
                                          3D\UROO$FFRXQW /DVW'LJLWV 
                                       ✔ Southern Bank Account             /DVW'LJLWV 0495  

                                                                     $02817


     &$6+%$/$1&()52035(9,286                                    226.89
       0217+ 65(3257

     727$/5(&(,37675$16)(5681&/($5('                            429.61
       >2QIROORZLQJSDJH(;+,%,7
       SURYLGHDGHVFULSWLRQRIWKHVRXUFHDQGDPRXQW@



     727$/',6%856(0(17675$16)(5681&/($5(' 0.00
       >2QIROORZLQJSDJH(;+,%,7
       SURYLGHDGHVFULSWLRQRIWKHGLVEXUVHPHQWV@


     (1',1*5(&21&,/('%$/$1&(                                     656.50



                   6800$5<2)%$1.$&&2817,1)250$7,21


     (1',1*%$1.%$/$1&(                                           656.50

     3/8681&/($5(''(326,76                                        0.00

     /(6681&/($5('&+(&.6                                          0.00

     (1',1*5(&21&,/('%$/$1&(                             656.50



        ,ILWHPGLIIHUVIURP,WHPSOHDVHH[SODLQ
Case 19-00730-5-JNC        Doc 736 Filed 03/31/20 Entered 03/31/20 14:05:30            Page 15 of
                                            36


                                       (;+,%,7

                                                                         0495 
      '(6&5,37,21,7(0,=$7,212)5(&(,376 /DVW'LJLWVRI$FFW


  5(&(,376                                           $02817



  6DOHV                                               

  5HQWDO,QFRPH                                       
  &ROOHFWLRQRISRVWSHWLWLRQDFFRXQWVUHFHLYDEOH      429.61

  &ROOHFWLRQRISUHSHWLWLRQDFFRXQWVUHFHLYDEOH       


  %RUURZLQJE\'HEWRU OLVWVRXUFHVEHORZ             OLVWDPRXQWVEHORZ 

          D                                           D
           E                                           E
           F                                            F

                                                                      7RWDO 0.00
  7UDQVIHUVIURPRWKHUDFFRXQWV OLVWODVW
                                                        OLVWDPRXQWVEHORZ 
  GLJLWVRIDFFRXQWQXPEHUVEHORZ 
          D                                           D
           E                                           E
           F                                            F 

                                                                                0.00
                                                                      7RWDO 

  2WKHUIRUPVRILQFRPHGHSRVLWV OLVWVRXUFHV         OLVWDPRXQWVEHORZ 
  EHORZ 
                                                        D
          D                                           E
           E                                           F
           F
                                                                      7RWDO 0.00
  /HVVDOORZDQFHIRUUHWXUQVDQGGLVFRXQWV            



                                  Î  727$/ 429.61

                     7RWDOHTXDOVLWHP 7RWDO&DVK5HFHLSWV RQ3DUW&
Case 19-00730-5-JNC        Doc 736 Filed 03/31/20 Entered 03/31/20 14:05:30 Page 16 of
                                            36                Click to add another account
                                       (;+,%,7
                                                                        0495 
      '(6&5,37,21,7(0,=$7,212)',6%856(0(176 /DVW'LJLWVRI$FFW

  ',6%856(0(176                                      $02817

  3D\PHQWVWR6HFXUHG&UHGLWRUV                       
  3XUFKDVHVRI,QYHQWRU\                              
  1HW3D\UROO H[FOXGLQJRIILFHUFRPSHQVDWLRQ         
  2IILFHU&RPSHQVDWLRQ                                
  6XEFRQWUDFWRUVDQG&RQWUDFW:RUNHUV                  
  3D\UROO7D[HV                                       
  6DOHV7D[                                           
  3URSHUW\7D[HV                                      
  6XSSOLHVDQG0DWHULDOV                              
  5HDO3URSHUW\/HDVH3D\PHQWV                       
  9HKLFOH (TXLSPHQW/HDVH3D\PHQWV                 
  8WLOLWLHV 7HOHSKRQH(OHFWULFLW\:DWHU2WKHU     
  7UDYHODQG(QWHUWDLQPHQW                            
  0HDODQG)RRG&RVWV                                 
  7UDQVSRUWDWLRQ&RVWV HJIXHOWROOVSDUNLQJ    
  9HKLFOH0DLQWHQDQFHDQG5HSDLUV&RVWV               
  (TXLSPHQW5HSDLU&RVWV                              
  5HDO3URSHUW\5HSDLUVDQG0DLQWHQDQFH&RVWV        
  9HKLFOH,QVXUDQFH3UHPLXPV                          
  /LIHDQG+HDOWK,QVXUDQFH3UHPLXPV                  
  5HDO3URSHUW\,QVXUDQFH3UHPLXPV                    
  2WKHU,QVXUDQFH3UHPLXPV                            
  2IILFH6XSSOLHV                                     
  )UHLJKWDQG6KLSSLQJ&RVWV                          
  $GYHUWLVLQJDQG0DUNHWLQJ                           
  3URIHVVLRQDO)HHV HJ$WWRUQH\$FFRXQWDQW       
  4XDUWHUO\)HHV                                      
  7UDQVIHUVWRRWKHUDFFRXQWV OLVWODVW             OLVWDPRXQWVEHORZ 
  GLJLWVRIDFFRXQWQXPEHUVEHORZ 
                                                               D
           D 
                                                               E
          E
                                                                F 
           F
                                                                                  0.00
                                                                        7RWDO 
  2WKHU 3529,'($77$&+0(17                           


                                  Î 727$/  0.00

                   7RWDOHTXDOVLWHP 7RWDO&DVK'LVEXUVHPHQWV RQ3DUW&
Case 19-00730-5-JNC        Doc 736 Filed 03/31/20 Entered 03/31/20 14:05:30                    Page 17 of
                                            36

                         6800$5<2)&$6+5(&(,376
                         $1'',6%856(0(176


  1$785(7<3(2)$&&2817                 2SHUDWLQJ$FFRXQW /DVW'LJLWV            
                                           7D[$FFRXQW /DVW'LJLWV 
                                          3D\UROO$FFRXQW /DVW'LJLWV 
                                       ✔ US Bank Account                   /DVW'LJLWV 3804  

                                                                    $02817


     &$6+%$/$1&()52035(9,286                                    44,415.32
       0217+ 65(3257

     727$/5(&(,37675$16)(5681&/($5('                            800,930.16
       >2QIROORZLQJSDJH(;+,%,7
       SURYLGHDGHVFULSWLRQRIWKHVRXUFHDQGDPRXQW@



     727$/',6%856(0(17675$16)(5681&/($5(' 665,476.61
       >2QIROORZLQJSDJH(;+,%,7
       SURYLGHDGHVFULSWLRQRIWKHGLVEXUVHPHQWV@


     (1',1*5(&21&,/('%$/$1&(                                     179,598.87



                   6800$5<2)%$1.$&&2817,1)250$7,21


     (1',1*%$1.%$/$1&(                                          179,598.87

     3/8681&/($5(''(326,76                                       0.00

     /(6681&/($5('&+(&.6                                         0.00

     (1',1*5(&21&,/('%$/$1&(                             179,598.87



        ,ILWHPGLIIHUVIURP,WHPSOHDVHH[SODLQ
Case 19-00730-5-JNC        Doc 736 Filed 03/31/20 Entered 03/31/20 14:05:30             Page 18 of
                                            36


                                       (;+,%,7

                                                                         3804 
      '(6&5,37,21,7(0,=$7,212)5(&(,376 /DVW'LJLWVRI$FFW


  5(&(,376                                          $02817



  6DOHV                                              

  5HQWDO,QFRPH                                      
  &ROOHFWLRQRISRVWSHWLWLRQDFFRXQWVUHFHLYDEOH     800,930.16

  &ROOHFWLRQRISUHSHWLWLRQDFFRXQWVUHFHLYDEOH      


  %RUURZLQJE\'HEWRU OLVWVRXUFHVEHORZ            OLVWDPRXQWVEHORZ 

          D                                          D
           E                                          E
           F                                           F

                                                                       7RWDO 0.00
  7UDQVIHUVIURPRWKHUDFFRXQWV OLVWODVW
                                                       OLVWDPRXQWVEHORZ 
  GLJLWVRIDFFRXQWQXPEHUVEHORZ 
          D                                          D
           E                                          E
           F                                           F 

                                                                                 0.00
                                                                       7RWDO 

  2WKHUIRUPVRILQFRPHGHSRVLWV OLVWVRXUFHV        OLVWDPRXQWVEHORZ 
  EHORZ 
                                                       D
          D                                          E
           E                                          F
           F
                                                                       7RWDO 0.00
  /HVVDOORZDQFHIRUUHWXUQVDQGGLVFRXQWV           



                                  Î  727$/ 800,930.16

                     7RWDOHTXDOVLWHP 7RWDO&DVK5HFHLSWV RQ3DUW&
Case 19-00730-5-JNC       Doc 736 Filed 03/31/20 Entered 03/31/20 14:05:30 Page 19 of
                                           36                Click to add another account
                                      (;+,%,7
                                                                        3804 
      '(6&5,37,21,7(0,=$7,212)',6%856(0(176 /DVW'LJLWVRI$FFW

  ',6%856(0(176                                      $02817

  3D\PHQWVWR6HFXUHG&UHGLWRUV                       
  3XUFKDVHVRI,QYHQWRU\                              
  1HW3D\UROO H[FOXGLQJRIILFHUFRPSHQVDWLRQ         
  2IILFHU&RPSHQVDWLRQ                                
  6XEFRQWUDFWRUVDQG&RQWUDFW:RUNHUV                  
  3D\UROO7D[HV                                       
  6DOHV7D[                                           
  3URSHUW\7D[HV                                      
  6XSSOLHVDQG0DWHULDOV                              
  5HDO3URSHUW\/HDVH3D\PHQWV                       
  9HKLFOH (TXLSPHQW/HDVH3D\PHQWV                 
  8WLOLWLHV 7HOHSKRQH(OHFWULFLW\:DWHU2WKHU     
  7UDYHODQG(QWHUWDLQPHQW                            
  0HDODQG)RRG&RVWV                                 
  7UDQVSRUWDWLRQ&RVWV HJIXHOWROOVSDUNLQJ    
  9HKLFOH0DLQWHQDQFHDQG5HSDLUV&RVWV               
  (TXLSPHQW5HSDLU&RVWV                              
  5HDO3URSHUW\5HSDLUVDQG0DLQWHQDQFH&RVWV        
  9HKLFOH,QVXUDQFH3UHPLXPV                          
  /LIHDQG+HDOWK,QVXUDQFH3UHPLXPV                  
  5HDO3URSHUW\,QVXUDQFH3UHPLXPV                    
  2WKHU,QVXUDQFH3UHPLXPV                            
  2IILFH6XSSOLHV                                     
  )UHLJKWDQG6KLSSLQJ&RVWV                          
  $GYHUWLVLQJDQG0DUNHWLQJ                           
  3URIHVVLRQDO)HHV HJ$WWRUQH\$FFRXQWDQW       
  4XDUWHUO\)HHV                                      
  7UDQVIHUVWRRWKHUDFFRXQWV OLVWODVW             OLVWDPRXQWVEHORZ 
  GLJLWVRIDFFRXQWQXPEHUVEHORZ 
                                                             D  $ 589,586.37
              4572
           D 
                                                             E  $ 0.00
          E 5931
                                                              F $ 76,160.24
           F 5944
                                                                              665,746.61
                                                                    7RWDO 
  2WKHU 3529,'($77$&+0(17                           


                                Î 727$/  665,746.61

                 7RWDOHTXDOVLWHP 7RWDO&DVK'LVEXUVHPHQWV RQ3DUW&
Case 19-00730-5-JNC        Doc 736 Filed 03/31/20 Entered 03/31/20 14:05:30                    Page 20 of
                                            36

                         6800$5<2)&$6+5(&(,376
                         $1'',6%856(0(176


  1$785(7<3(2)$&&2817                 2SHUDWLQJ$FFRXQW /DVW'LJLWV            
                                           7D[$FFRXQW /DVW'LJLWV 
                                          3D\UROO$FFRXQW /DVW'LJLWV 
                                       ✔ Affinity Account                  /DVW'LJLWV 5931  

                                                                    $02817


     &$6+%$/$1&()52035(9,286                                    31,015.90
       0217+ 65(3257

     727$/5(&(,37675$16)(5681&/($5('                            286,921.35
       >2QIROORZLQJSDJH(;+,%,7
       SURYLGHDGHVFULSWLRQRIWKHVRXUFHDQGDPRXQW@



     727$/',6%856(0(17675$16)(5681&/($5(' 311,391.75
       >2QIROORZLQJSDJH(;+,%,7
       SURYLGHDGHVFULSWLRQRIWKHGLVEXUVHPHQWV@


     (1',1*5(&21&,/('%$/$1&(                                     6,545.50



                   6800$5<2)%$1.$&&2817,1)250$7,21


     (1',1*%$1.%$/$1&(                                          6,545.50

     3/8681&/($5(''(326,76                                       0.00

     /(6681&/($5('&+(&.6                                         0.00

     (1',1*5(&21&,/('%$/$1&(                             6,545.50



        ,ILWHPGLIIHUVIURP,WHPSOHDVHH[SODLQ

  `
Case 19-00730-5-JNC        Doc 736 Filed 03/31/20 Entered 03/31/20 14:05:30             Page 21 of
                                            36


                                       (;+,%,7

                                                                         5931 
      '(6&5,37,21,7(0,=$7,212)5(&(,376 /DVW'LJLWVRI$FFW


  5(&(,376                                          $02817



  6DOHV                                              

  5HQWDO,QFRPH                                      

  &ROOHFWLRQRISRVWSHWLWLRQDFFRXQWVUHFHLYDEOH     
  &ROOHFWLRQRISUHSHWLWLRQDFFRXQWVUHFHLYDEOH      


  %RUURZLQJE\'HEWRU OLVWVRXUFHVEHORZ            OLVWDPRXQWVEHORZ 

          D                                          D
           E                                          E
           F                                           F

                                                                       7RWDO 0.00
  7UDQVIHUVIURPRWKHUDFFRXQWV OLVWODVW
                                                       OLVWDPRXQWVEHORZ 
  GLJLWVRIDFFRXQWQXPEHUVEHORZ 
          D 5944                                     D  $ 63,040.71
           E 4572                                     E $ 204,493.55
           F                                           F 

                                                                                 267,534.26
                                                                       7RWDO 

  2WKHUIRUPVRILQFRPHGHSRVLWV OLVWVRXUFHV        OLVWDPRXQWVEHORZ 
  EHORZ 
                                                       D
          D                                          E
           E                                          F
           F
                                                                       7RWDO 0.00
  /HVVDOORZDQFHIRUUHWXUQVDQGGLVFRXQWV           19,387.09



                                  Î  727$/ 286,921.35

                     7RWDOHTXDOVLWHP 7RWDO&DVK5HFHLSWV RQ3DUW&
Case 19-00730-5-JNC       Doc 736 Filed 03/31/20 Entered 03/31/20 14:05:30 Page 22 of
                                           36                Click to add another account
                                      (;+,%,7
                                                                        5931 
      '(6&5,37,21,7(0,=$7,212)',6%856(0(176 /DVW'LJLWVRI$FFW

  ',6%856(0(176                                      $02817

  3D\PHQWVWR6HFXUHG&UHGLWRUV                       
  3XUFKDVHVRI,QYHQWRU\                              
  1HW3D\UROO H[FOXGLQJRIILFHUFRPSHQVDWLRQ         39,809.97
  2IILFHU&RPSHQVDWLRQ                                
  6XEFRQWUDFWRUVDQG&RQWUDFW:RUNHUV                  
  3D\UROO7D[HV                                       
  6DOHV7D[                                           
  3URSHUW\7D[HV                                      
  6XSSOLHVDQG0DWHULDOV                              39,614.06
  5HDO3URSHUW\/HDVH3D\PHQWV                       
  9HKLFOH (TXLSPHQW/HDVH3D\PHQWV                 5,748.17
  8WLOLWLHV 7HOHSKRQH(OHFWULFLW\:DWHU2WKHU     15,134.41
  7UDYHODQG(QWHUWDLQPHQW                            
  0HDODQG)RRG&RVWV                                 
  7UDQVSRUWDWLRQ&RVWV HJIXHOWROOVSDUNLQJ    
  9HKLFOH0DLQWHQDQFHDQG5HSDLUV&RVWV               
  (TXLSPHQW5HSDLU&RVWV                              
  5HDO3URSHUW\5HSDLUVDQG0DLQWHQDQFH&RVWV        2,000.00
  9HKLFOH,QVXUDQFH3UHPLXPV                          
  /LIHDQG+HDOWK,QVXUDQFH3UHPLXPV                  
  5HDO3URSHUW\,QVXUDQFH3UHPLXPV                    
  2WKHU,QVXUDQFH3UHPLXPV                            150,183.50
  2IILFH6XSSOLHV                                     272.00
  )UHLJKWDQG6KLSSLQJ&RVWV                          
  $GYHUWLVLQJDQG0DUNHWLQJ                           
  3URIHVVLRQDO)HHV HJ$WWRUQH\$FFRXQWDQW       
  4XDUWHUO\)HHV                                      
  7UDQVIHUVWRRWKHUDFFRXQWV OLVWODVW             OLVWDPRXQWVEHORZ 
  GLJLWVRIDFFRXQWQXPEHUVEHORZ 
                                                             D  $ 16,700.00
              5944
           D 
                                                             E
          E
                                                              F 
           F
                                                                               16,700.00
                                                                     7RWDO 
  2WKHU 3529,'($77$&+0(17                           41,929.64


                                Î 727$/  311,391.75

                 7RWDOHTXDOVLWHP 7RWDO&DVK'LVEXUVHPHQWV RQ3DUW&
Case 19-00730-5-JNC        Doc 736 Filed 03/31/20 Entered 03/31/20 14:05:30                    Page 23 of
                                            36

                         6800$5<2)&$6+5(&(,376
                         $1'',6%856(0(176


  1$785(7<3(2)$&&2817                 2SHUDWLQJ$FFRXQW /DVW'LJLWV            
                                           7D[$FFRXQW /DVW'LJLWV 
                                          3D\UROO$FFRXQW /DVW'LJLWV 
                                       ✔ Affinity Payroll Account          /DVW'LJLWV 5944  

                                                                    $02817


     &$6+%$/$1&()52035(9,286                                    5,435.71
       0217+ 65(3257

     727$/5(&(,37675$16)(5681&/($5('                            503,469.67
       >2QIROORZLQJSDJH(;+,%,7
       SURYLGHDGHVFULSWLRQRIWKHVRXUFHDQGDPRXQW@



     727$/',6%856(0(17675$16)(5681&/($5(' 508,817.56
       >2QIROORZLQJSDJH(;+,%,7
       SURYLGHDGHVFULSWLRQRIWKHGLVEXUVHPHQWV@


     (1',1*5(&21&,/('%$/$1&(                                     87.82



                   6800$5<2)%$1.$&&2817,1)250$7,21


     (1',1*%$1.%$/$1&(                                          87.82

     3/8681&/($5(''(326,76                                       0.00

     /(6681&/($5('&+(&.6                                         0.00

     (1',1*5(&21&,/('%$/$1&(                             87.82



        ,ILWHPGLIIHUVIURP,WHPSOHDVHH[SODLQ
Case 19-00730-5-JNC        Doc 736 Filed 03/31/20 Entered 03/31/20 14:05:30             Page 24 of
                                            36


                                       (;+,%,7

                                                                         5944 
      '(6&5,37,21,7(0,=$7,212)5(&(,376 /DVW'LJLWVRI$FFW


  5(&(,376                                          $02817



  6DOHV                                              

  5HQWDO,QFRPH                                      

  &ROOHFWLRQRISRVWSHWLWLRQDFFRXQWVUHFHLYDEOH     
  &ROOHFWLRQRISUHSHWLWLRQDFFRXQWVUHFHLYDEOH      


  %RUURZLQJE\'HEWRU OLVWVRXUFHVEHORZ            OLVWDPRXQWVEHORZ 

          D                                          D
           E                                          E
           F                                           F

                                                                       7RWDO 0.00
  7UDQVIHUVIURPRWKHUDFFRXQWV OLVWODVW
                                                       OLVWDPRXQWVEHORZ 
  GLJLWVRIDFFRXQWQXPEHUVEHORZ 
          D 4572                                     D  $ 400,004.91
           E 3804                                     E $ 76,160.24
           F 5931                                      F 
                                                           $ 25,700.00
                                                                                 501,865.15
                                                                       7RWDO 

  2WKHUIRUPVRILQFRPHGHSRVLWV OLVWVRXUFHV        OLVWDPRXQWVEHORZ 
  EHORZ 
                                                       D
          D                                          E
           E                                          F
           F
                                                                       7RWDO 0.00
  /HVVDOORZDQFHIRUUHWXUQVDQGGLVFRXQWV           1,604.52



                                  Î  727$/ 503,469.67

                     7RWDOHTXDOVLWHP 7RWDO&DVK5HFHLSWV RQ3DUW&
Case 19-00730-5-JNC       Doc 736 Filed 03/31/20 Entered 03/31/20 14:05:30 Page 25 of
                                           36                Click to add another account
                                      (;+,%,7
                                                                        5944 
      '(6&5,37,21,7(0,=$7,212)',6%856(0(176 /DVW'LJLWVRI$FFW

  ',6%856(0(176                                      $02817

  3D\PHQWVWR6HFXUHG&UHGLWRUV                       
  3XUFKDVHVRI,QYHQWRU\                              
  1HW3D\UROO H[FOXGLQJRIILFHUFRPSHQVDWLRQ         445,776.85
  2IILFHU&RPSHQVDWLRQ                                
  6XEFRQWUDFWRUVDQG&RQWUDFW:RUNHUV                  
  3D\UROO7D[HV                                       
  6DOHV7D[                                           
  3URSHUW\7D[HV                                      
  6XSSOLHVDQG0DWHULDOV                              
  5HDO3URSHUW\/HDVH3D\PHQWV                       
  9HKLFOH (TXLSPHQW/HDVH3D\PHQWV                 
  8WLOLWLHV 7HOHSKRQH(OHFWULFLW\:DWHU2WKHU     
  7UDYHODQG(QWHUWDLQPHQW                            
  0HDODQG)RRG&RVWV                                 
  7UDQVSRUWDWLRQ&RVWV HJIXHOWROOVSDUNLQJ    
  9HKLFOH0DLQWHQDQFHDQG5HSDLUV&RVWV               
  (TXLSPHQW5HSDLU&RVWV                              
  5HDO3URSHUW\5HSDLUVDQG0DLQWHQDQFH&RVWV        
  9HKLFOH,QVXUDQFH3UHPLXPV                          
  /LIHDQG+HDOWK,QVXUDQFH3UHPLXPV                  
  5HDO3URSHUW\,QVXUDQFH3UHPLXPV                    
  2WKHU,QVXUDQFH3UHPLXPV                            
  2IILFH6XSSOLHV                                     
  )UHLJKWDQG6KLSSLQJ&RVWV                          
  $GYHUWLVLQJDQG0DUNHWLQJ                           
  3URIHVVLRQDO)HHV HJ$WWRUQH\$FFRXQWDQW       
  4XDUWHUO\)HHV                                      
  7UDQVIHUVWRRWKHUDFFRXQWV OLVWODVW             OLVWDPRXQWVEHORZ 
  GLJLWVRIDFFRXQWQXPEHUVEHORZ 
                                                             D  $ 63,040.71
              5931
           D 
                                                             E
          E
                                                              F 
           F
                                                                              63,040.71
                                                                    7RWDO 
  2WKHU 3529,'($77$&+0(17                           


                                Î 727$/  508,817.56

                 7RWDOHTXDOVLWHP 7RWDO&DVK'LVEXUVHPHQWV RQ3DUW&
Case 19-00730-5-JNC        Doc 736 Filed 03/31/20 Entered 03/31/20 14:05:30                    Page 26 of
                                            36

                         6800$5<2)&$6+5(&(,376
                         $1'',6%856(0(176


  1$785(7<3(2)$&&2817                 2SHUDWLQJ$FFRXQW /DVW'LJLWV            
                                           7D[$FFRXQW /DVW'LJLWV 
                                          3D\UROO$FFRXQW /DVW'LJLWV 
                                       ✔ Affinity Account                  /DVW'LJLWV 4658  

                                                                    $02817


     &$6+%$/$1&()52035(9,286                                    3,672.43
       0217+ 65(3257

     727$/5(&(,37675$16)(5681&/($5('                            555.92
       >2QIROORZLQJSDJH(;+,%,7
       SURYLGHDGHVFULSWLRQRIWKHVRXUFHDQGDPRXQW@



     727$/',6%856(0(17675$16)(5681&/($5(' 67.95
       >2QIROORZLQJSDJH(;+,%,7
       SURYLGHDGHVFULSWLRQRIWKHGLVEXUVHPHQWV@


     (1',1*5(&21&,/('%$/$1&(                                     4,160.40



                   6800$5<2)%$1.$&&2817,1)250$7,21


     (1',1*%$1.%$/$1&(                                          4,160.40

     3/8681&/($5(''(326,76                                       0.00

     /(6681&/($5('&+(&.6                                         0.00

     (1',1*5(&21&,/('%$/$1&(                             4,160.40



        ,ILWHPGLIIHUVIURP,WHPSOHDVHH[SODLQ
Case 19-00730-5-JNC        Doc 736 Filed 03/31/20 Entered 03/31/20 14:05:30            Page 27 of
                                            36


                                       (;+,%,7

                                                                         4658 
      '(6&5,37,21,7(0,=$7,212)5(&(,376 /DVW'LJLWVRI$FFW


  5(&(,376                                           $02817



  6DOHV                                               

  5HQWDO,QFRPH                                       

  &ROOHFWLRQRISRVWSHWLWLRQDFFRXQWVUHFHLYDEOH      555.92
  &ROOHFWLRQRISUHSHWLWLRQDFFRXQWVUHFHLYDEOH       


  %RUURZLQJE\'HEWRU OLVWVRXUFHVEHORZ             OLVWDPRXQWVEHORZ 

          D                                           D
           E                                           E
           F                                            F

                                                                      7RWDO 0.00
  7UDQVIHUVIURPRWKHUDFFRXQWV OLVWODVW
                                                        OLVWDPRXQWVEHORZ 
  GLJLWVRIDFFRXQWQXPEHUVEHORZ 
          D                                           D
           E                                           E
           F                                            F 

                                                                                0.00
                                                                      7RWDO 

  2WKHUIRUPVRILQFRPHGHSRVLWV OLVWVRXUFHV         OLVWDPRXQWVEHORZ 
  EHORZ 
                                                        D
          D                                           E
           E                                           F
           F
                                                                      7RWDO 0.00
  /HVVDOORZDQFHIRUUHWXUQVDQGGLVFRXQWV            



                                  Î  727$/ 555.92

                     7RWDOHTXDOVLWHP 7RWDO&DVK5HFHLSWV RQ3DUW&
Case 19-00730-5-JNC        Doc 736 Filed 03/31/20 Entered 03/31/20 14:05:30 Page 28 of
                                            36                Click to add another account
                                       (;+,%,7
                                                                        4658 
      '(6&5,37,21,7(0,=$7,212)',6%856(0(176 /DVW'LJLWVRI$FFW

  ',6%856(0(176                                      $02817

  3D\PHQWVWR6HFXUHG&UHGLWRUV                       
  3XUFKDVHVRI,QYHQWRU\                              
  1HW3D\UROO H[FOXGLQJRIILFHUFRPSHQVDWLRQ         
  2IILFHU&RPSHQVDWLRQ                                
  6XEFRQWUDFWRUVDQG&RQWUDFW:RUNHUV                  
  3D\UROO7D[HV                                       
  6DOHV7D[                                           
  3URSHUW\7D[HV                                      
  6XSSOLHVDQG0DWHULDOV                              
  5HDO3URSHUW\/HDVH3D\PHQWV                       
  9HKLFOH (TXLSPHQW/HDVH3D\PHQWV                 
  8WLOLWLHV 7HOHSKRQH(OHFWULFLW\:DWHU2WKHU     
  7UDYHODQG(QWHUWDLQPHQW                            
  0HDODQG)RRG&RVWV                                 
  7UDQVSRUWDWLRQ&RVWV HJIXHOWROOVSDUNLQJ    
  9HKLFOH0DLQWHQDQFHDQG5HSDLUV&RVWV               
  (TXLSPHQW5HSDLU&RVWV                              
  5HDO3URSHUW\5HSDLUVDQG0DLQWHQDQFH&RVWV        
  9HKLFOH,QVXUDQFH3UHPLXPV                          
  /LIHDQG+HDOWK,QVXUDQFH3UHPLXPV                  
  5HDO3URSHUW\,QVXUDQFH3UHPLXPV                    
  2WKHU,QVXUDQFH3UHPLXPV                            
  2IILFH6XSSOLHV                                     
  )UHLJKWDQG6KLSSLQJ&RVWV                          
  $GYHUWLVLQJDQG0DUNHWLQJ                           
  3URIHVVLRQDO)HHV HJ$WWRUQH\$FFRXQWDQW       
  4XDUWHUO\)HHV                                      
  7UDQVIHUVWRRWKHUDFFRXQWV OLVWODVW             OLVWDPRXQWVEHORZ 
  GLJLWVRIDFFRXQWQXPEHUVEHORZ 
                                                                D
           D 
                                                                E
          E
                                                                 F 
           F
                                                                                   0.00
                                                                         7RWDO 
  2WKHU 3529,'($77$&+0(17                           67.95


                                  Î 727$/  67.95

                   7RWDOHTXDOVLWHP 7RWDO&DVK'LVEXUVHPHQWV RQ3DUW&
Case 19-00730-5-JNC    Doc 736 Filed 03/31/20 Entered 03/31/20 14:05:30           Page 29 of
                                        36



   3$57'6800$5<2)$&&28175(&(,9$%/(6


                                                               $02817

         %HJLQQLQJ%DODQFH                                     11,712,593.00
                                                               

         6DOHVRQ$FFRXQW                                      1,968,484.00
                                                               

         &ROOHFWLRQVRQ$FFRXQW                                836,586.00
                                                               

         (QGLQJ%DODQFH                                        12,844,491.00
                                                               
           >,WHPSOXVPLQXV@




                        67$7862)&2//(&7,216


                                             $02817

                &XUUHQWWRGD\V          

                WRGD\V               

                WRGD\V               

                WRGD\V              

                GD\VDQGROGHU          

                727$/                      
Case 19-00730-5-JNC       Doc 736 Filed 03/31/20 Entered 03/31/20 14:05:30          Page 30 of
                                           36



       3$57(6800$5<2)$&&281763$<$%/(
                >(;&/8',1*35(3(7,7,21$&&281763$<$%/(@



                                                 $02817


                   &XUUHQWWRGD\V                     244,617.69
                                                        

                   WRGD\V                          149,453.31
                                                        

                   WRGD\V                          110,424.84
                                                        

                   WRGD\V                         7,050.00
                                                        

                   GD\VDQGROGHU                     37,772.36
                                                        


                   727$/                                 549,318.20
                                                        


,IWKHUHDUHSD\DEOHVRXWVWDQGLQJJUHDWHUWKDQGD\VSOHDVHSURYLGHDQH[SODQDWLRQ

Some invoices over 60 days due to receiving older invoices late from the vendors, so these were
added to the outstanding AP. Also, playing catch up with payments from the halt of payments
back in December from Medicare.
Case 19-00730-5-JNC           Doc 736 Filed 03/31/20 Entered 03/31/20 14:05:30 Page 31 of
                                               36               Click to add Secured Creditors


                  3$57)67$7862)3$<0(17672
                       6(&85('&5(',7256
,QVWUXFWLRQV/LVWDOOVHFXUHGFUHGLWRUVDQGFROODWHUDOGHVFULSWLRQVUHJDUGOHVVLISD\PHQWVDUHPDGH

&KHFNLIWKLVIRUPLVQRWDSSOLFDEOHWRWKH'HEWRU



&UHGLWRU1DPH                   First Capital Corporation
'HVFULSWLRQRI&ROODWHUDO       Blanket Lien
$PRXQW3DLGWKLV0RQWK          $ 0.00
3D\PHQW3XUVXDQWWR
%DQNUXSWF\&RXUW2UGHU"


&UHGLWRU1DPH                   GEL Funding, LLC
'HVFULSWLRQRI&ROODWHUDO       Blanket Lien
$PRXQW3DLGWKLV0RQWK          $ 0.00
3D\PHQW3XUVXDQWWR
%DQNUXSWF\&RXUW2UGHU"


&UHGLWRU1DPH                   GE Capital Corporation
'HVFULSWLRQRI&ROODWHUDO       GE Healthcare Global X-Ray System
$PRXQW3DLGWKLV0RQWK          $ 0.00
3D\PHQW3XUVXDQWWR
%DQNUXSWF\&RXUW2UGHU"


&UHGLWRU1DPH                   First Financial Corporate Leasing, LLC
'HVFULSWLRQRI&ROODWHUDO       Blanket Lien
$PRXQW3DLGWKLV0RQWK          $ 0.00
3D\PHQW3XUVXDQWWR
%DQNUXSWF\&RXUW2UGHU"
Case 19-00730-5-JNC          Doc 736 Filed 03/31/20 Entered 03/31/20 14:05:30 Page 32 of
                                              36                    Click to add Lessors

         3$57*67$7862)3$<0(17672/(66256
 ,QVWUXFWLRQV/LVWDOOOHVVRUVDQGGHVFULSWLRQRIOHDVHGSURSHUW\UHJDUGOHVVLISD\PHQWVDUHPDGH


&KHFNLIWKLVIRUPLVQRWDSSOLFDEOHWRWKH'HEWRU


/HVVRU1DPH                         BMO Harris Bank, N.A.
'HVFULSWLRQRI/HDVHG3URSHUW\ Master Lease 1012601

$PRXQW3DLGWKLV0RQWK              $ 0.00
,V/HDVH&XUUHQW"                    Unknown

/HVVRU1DPH                         Siemens Financial Services, Inc.
'HVFULSWLRQRI/HDVHG3URSHUW\ CA 620- Lease #33056-47615

$PRXQW3DLGWKLV0RQWK              $ 0.00
,V/HDVH&XUUHQW"                    Unknown

/HVVRU1DPH                         Siemens Financial Services, Inc.
'HVFULSWLRQRI/HDVHG3URSHUW\ CA 660- Lease #33056-47615

$PRXQW3DLGWKLV0RQWK              $ 0.00
,V/HDVH&XUUHQW"                    Unknown

/HVVRU1DPH                         Baxter
'HVFULSWLRQRI/HDVHG3URSHUW\ IV Pump

$PRXQW3DLGWKLV0RQWK              $ 0.00
,V/HDVH&XUUHQW"                    Unknown
Case 19-00730-5-JNC        Doc 736 Filed 03/31/20 Entered 03/31/20 14:05:30 Page 33 of
                                            36                    Click to add Lessors

                67$7862)3$<0(17672/(66256

/HVVRU1DPH                      HERC
'HVFULSWLRQRI/HDVHG3URSHUW\ CT Scanner

$PRXQW3DLGWKLV0RQWK           $ 5,300.00
,V/HDVH&XUUHQW"


/HVVRU1DPH                      Accent Imaging
'HVFULSWLRQRI/HDVHG3URSHUW\

$PRXQW3DLGWKLV0RQWK           $ 448.17
,V/HDVH&XUUHQW"


/HVVRU1DPH

'HVFULSWLRQRI/HDVHG3URSHUW\

$PRXQW3DLGWKLV0RQWK

,V/HDVH&XUUHQW"


/HVVRU1DPH

'HVFULSWLRQRI/HDVHG3URSHUW\

$PRXQW3DLGWKLV0RQWK

,V/HDVH&XUUHQW"


/HVVRU1DPH

'HVFULSWLRQRI/HDVHG3URSHUW\

$PRXQW3DLGWKLV0RQWK

,V/HDVH&XUUHQW"
  Case 19-00730-5-JNC         Doc 736 Filed 03/31/20 Entered 03/31/20 14:05:30             Page 34 of
                                               36

             3$57+6800$5<2)2)),&(52:1(5
             &203(16$7,213523(57<6$/(6$1'
                352)(66,21$/)((3$<0(176

 5(3257$//&203(16$7,213$,'72$1<2)),&(5252:1(57+,60217+

✔&KHFNLIQRRIILFHUFRPSHQVDWLRQZDVSDLGWKLVPRQWK

                                               0RQWKO\&RPSHQVDWLRQ                &RPSHQVDWLRQ
 1DPHRI2IILFHU2ZQHURIWKH'HEWRU
                                               $XWKRUL]HGE\WKH&RXUW           5HFHLYHGWKLV0RQWK




 3523(57<6$/(5(3257

✔&KHFNLIWKH'HEWRUGLGQRWVHOODQ\SURSHUW\WKLVPRQWK

                                             'DWH3URSHUW\         *URVV6DOH        1HW6DOH3URFHHGV
      'HVFULSWLRQRI3URSHUW\6ROG
                                                 6ROG              3URFHHGV           3DLGWR'HEWRU




 5(32572)$//3$<0(1760$'(72352)(66,21$/67+,60217+

✔&KHFNLIWKH'HEWRUGLGQRWSD\DQ\SURIHVVLRQDOVWKLVPRQWK

                                               'DWH               &RPSHQVDWLRQ         &RPSHQVDWLRQ
         1DPHRI3URIHVVLRQDO              &RPSHQVDWLRQ         $XWKRUL]HGE\WKH     5HFHLYHGWKLV
                                             $SSURYHG                 &RXUW              0RQWK
Case 19-00730-5-JNC        Doc 736 Filed 03/31/20 Entered 03/31/20 14:05:30           Page 35 of
                                            36
          3$57,&+$37(548$57(5/<)((6

DISBURSEMENTS INCLUDE6XPWRWDORIDOOGLVEXUVHPHQWVIURPDOORIWKH'HEWRU¶VEDQN
DFFRXQWV±DQG±SD\PHQWVPDGHRQEHKDOIRIWKH'HEWRU'LVEXUVHPHQWVGRQRWLQFOXGHWUDQVIHUV
EHWZHHQWKH'HEWRU¶VDFFRXQWV4XDUWHUO\IHHVDUHQRWSURUDWHG

&DOFXODWLQJWKH)HH8VHWKHWDEOHRQWKHIROORZLQJSDJHWRFRPSXWHWKH$PRXQWRI)HH'XHIRU
HDFKTXDUWHU3D\PHQWRITXDUWHUO\IHHVVKRXOGEHVXEPLWWHGWR'HEWRU¶VDWWRUQH\DQGWKHQ
'HEWRU¶VDWWRUQH\VKRXOGVXEPLWWKHSD\PHQWWKURXJKZZZSD\JRY



1st Quarter:
                                             'LVEXUVHPHQWV                   'LVEXUVHPHQWVPDGH
                                             PDGHE\'HEWRU                   RQEHKDOIRI'HEWRU

'LVEXUVHPHQWVIRUJanuary:                 $ 736,922.24            


'LVEXUVHPHQWVIRUFebruary:                  $ 774,753.94             


'LVEXUVHPHQWVIRUMarch:                                              


                     727$/                 $ 1,511,676.18                          $ 0.00


                     727$/',6%856(0(176                     $ 1,511,676.18



                     $PRXQWRI)HH'XH

                     $PRXQWRI)HH3DLG
Case 19-00730-5-JNC   Doc 736 Filed 03/31/20 Entered 03/31/20 14:05:30   Page 36 of
                                       36




          7RWDO'LVEXUVHPHQWV                 $PRXQWRI)HH'XH
            IRUWKH4XDUWHU


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    7RWDOGLVEXUVHPHQWVDUHHTXDOWR        RIWRWDOGLVEXUVHPHQWVRU
    RUJUHDWHUWKDQ         ZKLFKHYHULVOHVV
